                  Case 23-10051-JKS         Doc 457      Filed 07/25/23       Page 1 of 4




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

 In re:                                             Chapter 11

 GIGAMONSTER NETWORKS,                              Case No. 23-10051 (JKS)
 LLC, et al.1,
                                                    (Jointly Administered)
                   Debtors.
                                                    Hearing Date: August 17, 2023, at 10:00 a.m. (ET)
                                                    Obj. Deadline: August 15, 2023, at 4:00 p.m. (ET)

NOTICE OF SECOND INTERIM FEE APPLICATIONS FOR THE PROFESSIONALS
OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS FOR THE PERIOD
       FROM APRIL 1, 2023 THROUGH AND INCLUDING JUNE 30, 2023

                PLEASE TAKE NOTICE that in accordance with that certain Order Establishing
Procedures for Interim Compensation and Reimbursement of Expenses of Professionals
[Docket No. 122] (the “Interim Compensation Order”), the professionals retained by the Official
Committee of Unsecured Creditors appointed in the above-captioned chapter 11 cases (the
“Committee”) hereby apply for interim quarterly allowance of compensation and reimbursement
of expenses (collectively, the “Interim Fee Requests”) for all monthly fee applications covering
the period from April 1, 2023, through and including June 30, 2023, and in the case of M3 Advisory
Partners, March 1, 2023, through and including April 30, 2023 (collectively, the “Monthly Fee
Requests”). Summaries of the fees and expenses subject to the Interim Fee Requests are annexed
hereto and set forth in the Monthly Fee Requests previously filed with the Court.

               PLEASE TAKE FURTHER NOTICE that pursuant to the Interim Compensation
Order, the above-captioned debtors and debtors in possession (collectively, the “Debtors”) were
previously authorized to pay, on an monthly basis, eighty percent (80%) of the amount of
compensation requested, and one hundred percent (100%) of the amount of reimbursable expenses,
requested in the Monthly Fee Requests without further order from the Court upon the expiration
of the applicable objection period for the Monthly Fee Requests.

              PLEASE TAKE FURTHER NOTICE that pursuant to the Interim
Compensation Order, objections, if any, to the Interim Fee Requests are required to be filed
and served on the affected professional and the following parties on or before
August 15, 2023 at 4:00 p.m. (ET): (i) the Debtors, Pachulski Stang Ziehl & Jones LLP,
919 North Market Street, 17th Floor, Wilmington, DE 19899, Attn: Laura Davis Jones
(ljones@pszjlaw.com), David M. Bertenthal (dbertenthal@pszjlaw.com), and Timothy P.
Cairns (tcairns@pszjlaw.com); (ii) counsel to the DIP Agent and DIP Lenders: (a) Jones
Day, 901 Lakeside Avenue, Cleveland, OH 44114, Attn: Thomas M. Wearsch

    1
         The Debtors, along with the last four digits of each Debtor’s federal tax identification number, are
GigaMonster Networks, LLC (2854); Gigasphere Holdings LLC (0250); GigaMonster, LLC (3014); Fibersphere
Communications LLC (0163); and Fibersphere Communications of California LLC (5088). The Debtors’ business
address is 350 Franklin Gateway, Suite 300, Marietta, GA 30067.

                                                     1
US.358609204.02
                  Case 23-10051-JKS   Doc 457      Filed 07/25/23   Page 2 of 4




(twearsch@jonesday.com); (b) Jones Day, 100 High Street, Boston, MA 02110, Attn: John
D. Casais (jcasais@jonesday.com); (c) Choate Hall & Stewart LLP, Two International Place,
Boston, MA 02110, Attn: Brian P. Lenihan (blenihan@choate.com); and (d) Richards,
Layton & Finger, P.A., One Rodney Square, 920 North King Street, Wilmington, DE 19801,
Attn: Zachary Shapiro (shapiro@rlf.com); (iii) counsel to the Prepetition Agent, Hogan
Lovells US LLP, 390 Madison Avenue, New York, NY 10017, Attn: Erin N. Brady
(erin.brady@hoganlovells.com) and Chris Bryant (chris.bryant@hoganlovells.com); and
(iv) the Office of the United States Trustee for the District of Delaware, 844 King Street,
Suite 2207, Wilmington, DE 19801, Attn: Timothy J. Fox (timothy.fox@usdoj.gov).

             PLEASE TAKE FURTHER NOTICE that a hearing to consider approval of the
Interim Fee Requests will be held before the Honorable J. Kate Stickles in the United States
Bankruptcy Court for the District of Delaware, 824 Market Street, 5th Floor, Courtroom No. 6,
Wilmington, Delaware 19801, on August 17, 2023, at 10:00 a.m. (ET).

          PLEASE TAKE FURTHER NOTICE THAT IF YOU FAIL TO RESPOND
TO THE INTERIM FEE REQUESTS IN ACCORDANCE WITH THIS NOTICE, THE
COURT MAY ENTER AN ORDER APPROVING THE INTERIM FEE REQUESTS
WITHOUT FURTHER NOTICE OR A HEARING.

    Dated: July 25, 2023               FAEGRE DRINKER BIDDLE & REATH LLP

                                       /s/ Jaclyn C. Marasco
                                       Patrick A. Jackson (Bar No. 4976)
                                       Jaclyn C. Marasco (Bar No. 6477)
                                       222 Delaware Avenue, Suite 1400
                                       Wilmington, Delaware 19801
                                       Telephone: (302) 467-4200
                                       Facsimile: (302) 467-4201
                                       Emails: patrick.jackson@faegredrinker.com
                                                jaclyn.marasco@faegredrinker.com

                                       -and-

                                       Richard J. Bernard (admitted pro hac vice)
                                       1177 Avenue of the Americas, 41st Floor
                                       New York, New York 10036
                                       Telephone: (212) 248-3263
                                       Facsimile: (212) 248-3141
                                       Email: richard.bernard@faegredrinker.com

                                       Counsel to the Official Committee of Unsecured
                                       Creditors




                                               2
US.358609204.02
                          Case 23-10051-JKS          Doc 457      Filed 07/25/23      Page 3 of 4




                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

         In re:                                             Chapter 11

         GIGAMONSTER NETWORKS,                              Case No. 23-10051 (JKS)
         LLC, et al.1,
                                                            (Jointly Administered)
                           Debtors.
                                                            Hearing Date: August 17, 2023, at 10:00 a.m. (ET)
                                                            Obj. Deadline: August 15, 2023, at 4:00 p.m. (ET)

                                    SECOND INTERIM FEE REQUEST OF
                                  FAEGRE DRINKER BIDDLE & REATH LLP

         Name of Applicant:                                      Faegre Drinker Biddle & Reath, LLP

         Authorized to Provide Professional                      Counsel to the Official Committee of
         Services as:                                            Unsecured Creditors

         Date of Retention:                                      March 10, 2023 (effective January 30, 2023)

         Period for Which Compensation and                       April 1, 2023, through June 30, 2023
         Reimbursement is Sought:

Monthly Fee Period,       Total Fees       Total             CNO           Amount of         Amount of          Amount of
Date Filed & Docket       Requested      Expenses        Filing Date,     Fees Paid or      Expenses Paid        Holdback
         No.                             Requested       Docket No.        to be Paid       or to be Paid       Fees Sought
                                                                             (80%)             (100%)              (20%)
  4/1/23 – 4/30/23        $58,973.50        $9.20          6/13/23         $47,178.80           $9.20            $11,794.70
      5/22/23                                              D.I. 409
      D.I. 369
  5/1/23 – 5/31/23        $77,788.00       $657.35         7/13/23         $62,230.40           $657.35          $15,557.60
      6/21/23                                              D.I. 444
      D.I. 418
  6/1/23 – 6/30/23        $23,510.00       $440.55          Obj.           $18,808.00           $440.55           $4,702.00
      7/21/23                                             Deadline
      D.I. 452                                            8/11/23
     TOTALS               $160,271.50     $1,107.10                       $128,217.20          $1,107.10         $32,054.30




            1
                 The Debtors, along with the last four digits of each Debtor’s federal tax identification number, are
        GigaMonster Networks, LLC (2854); Gigasphere Holdings LLC (0250); GigaMonster, LLC (3014); Fibersphere
        Communications LLC (0163); and Fibersphere Communications of California LLC (5088). The Debtors’ business
        address is 350 Franklin Gateway, Suite 300, Marietta, GA 30067.

                                                             1
        US.358609204.02
                          Case 23-10051-JKS          Doc 457      Filed 07/25/23      Page 4 of 4




                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

         In re:                                             Chapter 11

         GIGAMONSTER NETWORKS,                              Case No. 23-10051 (JKS)
         LLC, et al.1,
                                                            (Jointly Administered)
                           Debtors.
                                                            Hearing Date: August 17, 2023, at 10:00 a.m. (ET)
                                                            Obj. Deadline: August 15, 2023, at 4:00 p.m. (ET)

                                       SECOND INTERIM FEE REQUEST OF
                                           M3 ADVISORY PARTNERS

         Name of Applicant:                                      M3 Advisory Partners

         Authorized to Provide Professional                      Financial Advisor to the Official Committee
         Services as:                                            of Unsecured Creditors

         Date of Retention:                                      March 10, 2023 (effective January 30, 2023)

         Period for Which Compensation and                       March 1, 2023, through April 30, 2023
         Reimbursement is Sought:

Monthly Fee Period,       Total Fees       Total             CNO           Amount of         Amount of          Amount of
Date Filed & Docket       Requested      Expenses        Filing Date,     Fees Paid or      Expenses Paid        Holdback
         No.                             Requested       Docket No.        to be Paid       or to be Paid       Fees Sought
                                                                             (80%)             (100%)             (20%)
  3/1/23 – 3/31/23        $30,645.00       $408.17          6/5/23         $24,516.00          $408.17           $6,129.00
      5/12/23                                              D.I. 399
      D.I. 363
  4/1/23 – 4/30/23        $18,220.00       $41.78          6/13/23         $14,576.00           $41.78            $3,644.00
      5/22/23                                              D.I. 410
      D.I. 370
     TOTALS               $48,865.00       $449.95                         $39,092.00           $449.95           $9,773.00




            1
                 The Debtors, along with the last four digits of each Debtor’s federal tax identification number, are
        GigaMonster Networks, LLC (2854); Gigasphere Holdings LLC (0250); GigaMonster, LLC (3014); Fibersphere
        Communications LLC (0163); and Fibersphere Communications of California LLC (5088). The Debtors’ business
        address is 350 Franklin Gateway, Suite 300, Marietta, GA 30067.

                                                             2
        US.358609204.02
